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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                     Chapter 11

    TERRAFORM LABS PTE. LTD.,1                                 Case No. 24–10070 (BLS)

             Debtor.                                           Ref. Docket Nos. 160 – 162, 165, & 167

                                      CERTIFICATE OF SERVICE

I, BENJAMIN JOHNSON, hereby certify that:

1. I am employed as a Case Manager by Epiq Corporate Restructuring, LLC, with their
   principal office located at 777 Third Avenue, New York, New York 10017. I am over the
   age of eighteen years and am not a party to the above-captioned action.

2. I caused to be served the:

      a. “Declaration of John S. Dubel in Support of the (I) Application of Debtor for Entry of
         an Order Authorizing the Retention and Employment of Dentons US LLP as Special
         Counsel to the Debtor and Debtor in Possession Effective as of the Petition Date and
         (II) Motion of Debtor for Entry of Orders Pursuant to Sections 363, 503(B), and 105(A)
         of the Bankruptcy Code Authorizing Debtor to Pay Certain Amounts in Furtherance of
         Litigation and Granting Related Relief,” dated March 9, 2024 [Docket No. 160], (the
         “Dubel Declaration”),

      b. “Declaration of Michael Leto in Support of the Debtor’s Motion for Entry of Orders
         Pursuant to Sections 363, 503(B), and 105(A) of the Bankruptcy Code Authorizing
         Debtor to Pay Certain Amounts in Furtherance of Litigation and Granting Related
         Relief,” dated March 9, 2024 [Docket No. 161], (the “Leto Declaration”),

      c. “Notice of Amended Agenda of Matters Scheduled for Hearing on March 12, 2024 at
         10:00 a.m. (ET), Before the Honorable Brendan L. Shannon, at the United States
         Bankruptcy Court for the District of Delaware, 6th Floor, Courtroom 1,” dated March
         9, 2024 [Docket No. 162], (the “Amended Agenda”),

      d. “Notice of Filing of Final Redacted Versions of Dentons US LLP’s Engagement
         Letters,” dated March 11, 2024 [Docket No. 165], (the “Letters Notice”), and

      e. “Notice of Second Amended Agenda of Matters Scheduled for Hearing on March 12,
         2024 at 10:00 a.m. (ET), Before the Honorable Brendan L. Shannon, at the United States
         Bankruptcy Court for the District of Delaware, 6th Floor, Courtroom 1,” dated March
         11, 2024 [Docket No. 167], (the “2nd Amended Agenda”),

1
    The Debtor’s principal office is located at 1 Wallich Street, #37-01, Guoco Tower, Singapore 078881.
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   by causing true and correct copies of the:

       i. Dubel Declaration, Leto Declaration, and Amended Agenda to be delivered via
          electronic mail to those parties listed on the annexed Exhibit A, on March 9, 2024,

       ii. Dubel Declaration, Leto Declaration, and Agenda to be delivered via electronic mail
           to those CM/ECF parties listed on the annexed Exhibit B, in accordance with Local
           Rule 5004-4(c)(ii), on March 9, 2024,

      iii. Amended Agenda and 2nd Amended Agenda to be enclosed securely in separate
           postage pre-paid envelopes and delivered via overnight mail to those parties listed
           on the annexed Exhibit C, on March 11, 2024,

      iv. Dubel Declaration, Leto Declaration, and Letters Notice to be enclosed securely in
          separate postage pre-paid envelopes and delivered via first class mail to those parties
          listed on the annexed Exhibit D, on March 11, 2024,

       v. Letters Notice and 2nd Amended Agenda to be delivered via electronic mail to those
          parties listed on the annexed Exhibit A, on March 11, 2024,

      vi. Letters Notice and 2nd Amended Agenda to be delivered via electronic mail to those
          CM/ECF parties listed on the annexed Exhibit B, in accordance with Local Rule
          5004-4(c)(ii), on March 11, 2024, and

     vii. Amended Agenda and 2nd Amended Agenda to be delivered via facsimile to:
          212-759-3045.

3. All envelopes utilized in the service of the foregoing contained the following legend:
   “LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
   ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”

4. In addition, I hereby certify that the referenced document was electronically filed with the
   United States Bankruptcy Court for the Delaware District by using the CM/ECF system. I
   further certify that the parties of record in this case, all registered CM/ECF users located on
   the Court’s Electronic Mail Notice List, were served through the CM/ECF system.

                                                              /s/ Benjamin Johnson
                                                              Benjamin Johnson
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                    EXHIBIT A
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                TERRAFORM LABS PTE. LTD., Case No. 24–10070 (BLS)
                          Electronic Mail Master Service List
Creditor Name                          Email Address
DELAWARE DEPARTMENT OF JUSTICE         attorney.general@delaware.gov
                                       charles.messing@irs.gov;
INTERNAL REVENUE SERVICE               dennis.moody@irs.gov
OFFICE OF THE UNITED STATES TRUSTEE    Linda.Richenderfer@usdoj.gov
SECRETARY OF STATE/DIV OF REVENUE      DOSDOC_FTAX@DELAWARE.GOV
SECURITIES & EXCHANGE COMMISSION       OCR@SEC.GOV
ACA ENGRG PTE LTD                      pohyee.song@acaengrg.com
ARCHER MARKETING & DEVELOPMENT (S)
PTE                                    accounts@archer.com.sg
CHEANG & LEE SANITARY PLUMBING PTE
LTD                                 main@clspc.com.sg
CLOUDFLARE, INC.                    mzatlyn@cloudflare.com
ESHARES, INC. DBA CARTA, INC.       investorservices@carta.com
K&L GATES LLP                       drew.hinkes@klgates.com
                                    mmoehle@pagerduty.com;
PAGERDUTY, INC.                     igomez@pagerduty.com
                                    starend@sec.gov;
                                    cuellarc@sec.gov;
                                    carneyc@sec.gov;
SECURITIES & EXCHANGE COMMISSION    landsmanr@sec.gov
SINGTEL                             andrew@teligraphtech.com
STANDARD CRYPTO VENTURE FUND I LP   ashley@standardcrypto.vc
SUBMC1                              aliceleaw@guocoland.com
TPC COMMERCIAL PTE LTD              vivienlim@guocoland.com
NANSEN PTE. LTD                     alex@nansen.ai
TOKEN TERMINAL OY                   rasmus@tokenterminal.xyz
OMNICOM GROUP INC                   Klawlor@ddcpublicaffairs.com
MINISTRY OF FINANCE                 JFrett@gov.vg; rahodge@gov.vg
                                    sookhim.keoy@cliffordchance.com;
OKCOIN                              karen.choi@cliffordchance.com
WINTERMUTE TRADING                  oliver.felton@mishcon.com
J.S HELD LLC                        jp.brennan@jsheld.com
                                    paul@quinlanpartners.com;
QUINLAN PARTNERS, LLC               dbaker@quinlanpartners.com
                                    wstansfield@reedsmith.com;
REED SMITH                          mbini@reedsmith.com
WONG PARTNERSHIP LLP                clayton.chong@wongpartnership.com
KOBRE & KIM LLP                     sydney.johnson@kobrekim.com
GOODWIN PROCTER LLP                 gfondo@goodwinlaw.com
RAHMAN RAVELLI                      nicola.sharp@rahmanravelli.co.uk
MCQUIREWOODS LLP                    esnyder@mcguirewoods.com
ALPHA CONSULTING DOO                office@alphaconsulting.me
                                    JOHN.PINTARELLI@PILLSBURYLAW.COM;
                                    ALANA.LYMAN@PILLSBURYLAW.COM;
                                    PATRICK.FITZMAURICE@PILLSBURYLAW.COM;
PILLSBURY WINTHROP SHAW PITTMAN LLP HUGH.MCDONALD@PILLSBURYLAW.COM


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                   TERRAFORM LABS PTE. LTD., Case No. 24–10070 (BLS)
                             Electronic Mail Master Service List
Creditor Name                          Email Address
                                       dhurst@mwe.com;
                                       dpavan@mwe.com;
                                       dazman@mwe.com;
                                       jbevans@mwe.com;
MCDERMOTT WILL & EMERY LLP             gsteinman@mwe.com
                                       cshore@whitecase.com;
                                       cwest@whitecase.com;
                                       gpesce@whitecase.com;
WHITE & CASE LLP                       acolodny@whitecase.com




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                    EXHIBIT B
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      TERRAFORM LABS PTE. LTD., Case No. 24–10070 (BLS)
             Electronic Mail CM-ECF User Service List
Creditor Name                   Email Address
Aaron Colodny                   acolodny@whitecase.com
Alana A. Lyman                  alana.lyman@pillsburylaw.com
                                steiger@rlf.com;
                                rbgroup@rlf.com;
Alexander R. Steiger            ann-jerominski-2390@ecf.pacerpro.com
                                dhurst@mwe.com;
                                dnorthrop@mwe.com;
                                fperlman@mwe.com;
                                bgiordano@mwe.com;
David R. Hurst                  mrainey@mwe.com
Epiq Corporate Restructuring    sgarabato@epiqglobal.com
                                gpesce@whitecase.com;
                                jdisanti@whitecase.com;
Gregory Pesce                   mco@whitecase.com
Hugh M. McDonald                hugh.mcdonald@pillsburylaw.com
Jane M. Leamy                   jane.m.leamy@usdoj.gov
                                cshore@whitecase.com;
                                caverch@whitecase.com;
                                gsedlik@whitecase.com;
                                rgorsich@whitecase.com;
John Christopher Shore          hannah.lee@whitecase.com
John Pintarelli                 john.pintarelli@pillsburylaw.com
Linda Richenderfer              Linda.Richenderfer@usdoj.gov
Mark Califano                   mark.califano@dentons.com
                                milana@rlf.com;
                                rbgroup@rlf.com;
Matthew P. Milana               ann-jerominski-2390@ecf.pacerpro.com
                                dnorthrop@mwe.com;
                                fperlman@mwe.com;
                                bgiordano@mwe.com;
McDermott Will & Emery LLP      nrainey@mwe.com
Michael Kelly                   kellymich@sec.gov
Patrick E. Fitzmaurice          patrick.fitzmaurice@pillsburylaw.com
Reliable Companies              gmatthews@reliable-co.com
Samuel R. Maizel                samuel.maizel@dentons.com
                                tania.moyron@dentons.com;
Tania M. Moyron                 kathryn.howard@dentons.com
Therese Anne Scheuer            scheuert@sec.gov
U.S. Trustee                    USTPRegion03.WL.ECF@USDOJ.GOV
William Matthew Uptegrove       uptegrovew@sec.gov
                                shapiro@rlf.com;
                                rbgroup@rlf.com;
Zachary I Shapiro               ann-jerominski-2390@ecf.pacerpro.com




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                    EXHIBIT C
                                           TERRAFORM LABS PTE LTD.
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                                                  SERVICE LIST
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Claim Name                              Address Information
DELAWARE DEPARTMENT OF JUSTICE          OFFICE OF THE ATTORNEY GENERAL CARVEL STATE BUILDING 820 N. FRENCH STREET
                                        WILMINGTON DE 19801
DELAWARE STATE TREASURY                 820 SILVER LAKE BLVD., SUITE 100 DOVER DE 19904
INTERNAL REVENUE SERVICE                1111 CONSTITUTION AVE, NW WASHINGTON DC 20220-0001
INTERNAL REVENUE SERVICE                P.O. BOX 7346 PHILADELPHIA PA 19101-7346
MINISTRY OF FINANCE                     ATTN: JEREMIAH FRETT FINANCIAL SECRETARY GOVERNMENT OF THE VIRGIN ISLANDS ROAD
                                        TOWN, TORTOLA VG 1110 VIRGIN ISLANDS
OFFICE OF THE UNITED STATES TRUSTEE     DISTRICT OF DELAWARE ATTN: LINDA RICHENDERFER, ESQ. 844 KING ST, STE 2207,
                                        LOCKBOX 35 WILMINGTON DE 19801
OFFICE OF THE US ATTORNEY               DISTRICT OF DELAWARE HERCULES BUILDING 1313 N. MARKET STREET, SUITE 400
                                        WILMINGTON DE 19801
SECRETARY OF STATE/DIV OF REVENUE       DIV. OF CORPORATIONS; FRANCHISE TAX JOHN G TOWNSEND BLDG 401 FEDERAL ST, STE 4
                                        DOVER DE 19901
SECRETARY OF STATE/DIV OF REVENUE       DIVISION OF CORPORATIONS FRANCHISE TAX P.O. BOX 898 DOVER DE 19903
SECURITIES & EXCHANGE COMMISSION        ATTN: DEVON STAREN 100 F STREET, NE WASHINGTON DC 20549-5985
SECURITIES & EXCHANGE COMMISSION        NEW YORK REGIONAL OFFICE ATTN: ANDREW CALAMARI, REGNL. DIR. BROOKFIELD PL 200
                                        VESEY ST, STE 400 NEW YORK NY 10281-1022
TQ VENTURES                             ATTN: ANDREW MARKS 408 WEST 14TH STREET 4TH FLOOR NEW YORK NY 10014




                                 Total Creditor count: 12




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                       TERRAFORM LABS PTE. LTD.
                          Case No. 24–10070 (BLS)
                     Overnight Mail Additional Service List

CORNERSTONE RESEARCH
ATTN: YAN CAO
599 LEXINGTON AVENUE
40TH FLOOR
NEW YORK, NY 10022-7642




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                    EXHIBIT D
                                            TERRAFORM LABS PTE LTD.
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                                                   SERVICE LIST
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Claim Name                               Address Information
ACA ENGRG PTE LTD                        ATTN: POHYEE SONG 27 MANDAI ESTATE 07-07 INNOVATION PLACE, TOWER 2 SINGAPORE
                                         729931 SINGAPORE
ALPHA CONSULTING DOO                     ATTN: KSENIJA POPOVIC IVANISEVIC BULEVAR REVOLUCIJE 2/10A PODGORICA MONTENEGRO
ARCHER MARKETING & DEVELOPMENT (S) PTE   ATTN: VINCENT CHIUA 4 PENJURU PLACE 01-23 2.8 PENJURU TECH HUB SINGAPORE
                                         608782 SINGAPORE
CHEANG & LEE SANITARY PLUMBING PTE LTD   ATTN: ERIC CHEE 21 TOH GUAN ROAD EAST 06-13 TOH GUAN CENTRE SINGAPORE 608609
                                         SINGAPORE
CLOUDFLARE, INC.                         ATTN: MICHELLE ZATLYN 101 TOWNSEND STREET SAN FRANCISCO CA 94107
CORNERSTONE RESEARCH                     ATTN: YAN CAO 599 LEXINGTON AVENUE 40TH FLOOR NEW YORK NY 10022-7642
DELAWARE DEPARTMENT OF JUSTICE           OFFICE OF THE ATTORNEY GENERAL CARVEL STATE BUILDING 820 N. FRENCH STREET
                                         WILMINGTON DE 19801
DELAWARE STATE TREASURY                  820 SILVER LAKE BLVD., SUITE 100 DOVER DE 19904
ESHARES, INC. DBA CARTA, INC.            333 BUSH STREET SUITE 2300 SAN FRANCISCO CA 94104
ETHAN LEE                                ADDRESS ON FILE
GOODWIN PROCTER LLP                      ATTN: GRANT P. FONDO 601 MARSHALL STREET REDWOOD CITY CA 94063
INTERNAL REVENUE SERVICE                 1111 CONSTITUTION AVE, NW WASHINGTON DC 20220-0001
INTERNAL REVENUE SERVICE                 P.O. BOX 7346 PHILADELPHIA PA 19101-7346
J.S HELD LLC                             ATTN: JP BRENNAN 48 WALL STREET NEW YORK NY 10043
K&L GATES LLP                            ATTN: DREW HINKES 210 SIXTH AVENUE K&L GATES CENTER PITTSBURGH PA 15221
KOBRE & KIM LLP                          ATTN: SYDNEY JOHNSON 201 SOUTH BISCAYNE BLVD SUITE 1900 MIAMI FL 33131
MCDERMOTT WILL & EMERY LLP               CO-COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS DARREN AZMAN &
                                         JOSEPH B. EVANS ONE VANDERBILT AVENUE NEW YORK NY 10017
MCDERMOTT WILL & EMERY LLP               CO-COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS DAVID R. HURST &
                                         DANTE PAVAN THE BRANDYWINE BUILDING 1000 N. WEST STREET, SUITE 1400 WILMINGTON
                                         DE 19801
MCDERMOTT WILL & EMERY LLP               CO-COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS GREGG A. STEINMAN
                                         333 SE 2ND AVENUE, SUITE 4500 MIAMI FL 33131
MCQUIREWOODS LLP                         ATTN: ERIC SNYDER 1251 AVENUE OF THE AMERICAS, 20TH FLOOR NEW YORK NY
                                         10020-1104
MINISTRY OF FINANCE                      ATTN: JEREMIAH FRETT FINANCIAL SECRETARY GOVERNMENT OF THE VIRGIN ISLANDS ROAD
                                         TOWN, TORTOLA VG 1110 VIRGIN ISLANDS
NANSEN PTE. LTD                          ATTN: ALEXANDER SVANEVIK 111 SOMERSET RD, 03-09 SINGAPORE 238164 SINGAPORE
OFFICE OF THE UNITED STATES ATTORNEY     DISTRICT OF DELAWARE HERCULES BUILDING 1313 N. MARKET STREET, SUITE 400
                                         WILMINGTON DE 19801
OFFICE OF THE UNITED STATES TRUSTEE      DISTRICT OF DELAWARE ATTN: LINDA RICHENDERFER, ESQ. 844 KING ST, STE 2207,
                                         LOCKBOX 35 WILMINGTON DE 19801
OKCOIN                                   ATTN: CLIFFORD CHANCE 27TH FLOOR, JARDINE HOUSE ONE CONNAUGHT PLACE HONG KONG
                                         HONG KONG
OMNICOM GROUP INC                        ATTN: KEVIN LAWLOR 1615 L STREET NW SUITE 400 WASHINGTON DC 20036
PAGERDUTY, INC.                          600 TOWNSEND ST. #200 SAN FRANCISCO CA 94103
PILLSBURY WINTHROP SHAW PITTMAN LLP      COUNSEL TO P. PRETLOVE, D. STANDISH & J. DRURY JOINT LIQUIDATORS FOR THREE
                                         ARROWS FUND, LTD ATTN: J. PINTARELLI, A. LYMAN P.E. FITZMAURICE & H. MCDONALD
                                         31 WEST 52ND STREET NEW YORK NY 10019
QUINLAN PARTNERS, LLC                    ATTN: PAUL QUINLAN & DOROTHY BAKER 2805 2ND AVE. S. SUITE 200 BIRMINGHAM AL
                                         35233
RAHMAN RAVELLI                           ATTN: NICOLA SHARP & AZIZUR RAHMAN BRIDGE HOUSE 181 QUEEN VICTORIA STREET
                                         LONDON EC4V 4EG UNITED KINGDOM
REED SMITH                               ATTN: WAYNE STANSFIELD & MARK BINI THREE LOGAN SQUARE SUITE 3100, 1717 ARCH
                                         STREET PHILADELPHIA PA 19103
SECRETARY OF STATE/DIV OF REVENUE        DIVISION OF CORPORATIONS FRANCHISE TAX P.O. BOX 898 DOVER DE 19903
SECRETARY OF STATE/DIV OF REVENUE        DIVISION OF CORPORATIONS; FRANCHISE TAX JOHN G TOWNSEND BLDG 401 FEDERAL ST,
                                         STE 4 DOVER DE 19901



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Claim Name                            Address Information
SECURITIES & EXCHANGE COMMISSION      ATTN: DEVON STAREN 100 F STREET, NE WASHINGTON DC 20549-5985
SECURITIES & EXCHANGE COMMISSION      NEW YORK REGIONAL OFFICE ATTN: ANDREW CALAMARI, REGIONAL DIRECTOR BROOKFIELD
                                      PLACE 200 VESEY ST, STE 400 NEW YORK NY 10281-1022
SINGTEL                               ATTN: DIRECTOR, ALFRED SAW C/O CREDIT MANAGEMENT (CREDIT RISK & ARREARS MGMT)
                                      20 PICKERING STREET #22-01 SINGTEL / PICKERING OPERATIONS COMPLEX SINGAPORE
                                      048658 SINGAPORE
STANDARD CRYPTO VENTURE FUND I LP     ATTN: ASHLEY SWEREN 1225 4TH STREET 525 SAN FRANCISCO CA 94158
SUBMC1                                1 WALLICH STREET 31-01 GUOCO TOWER SINGAPORE 078881 SINGAPORE
TOKEN TERMINAL OY                     PIENI ROOBERTINKATU 9 HELSINKI 00130 FINLAND
TPC COMMERCIAL PTE LTD                ATTN: CHENG HSING YAO 1 WALLICH STREET 31-01 GUOCO TOWER SINGAPORE 078881
                                      SINGAPORE
TQ VENTURES                           ATTN: ANDREW MARKS 408 WEST 14TH STREET 4TH FLOOR NEW YORK NY 10014
WINTERMUTE TRADING                    ATTN: OLIVER FELTON MISHCON DE REYA LLP AFRICA HOUSE, 70 KINGSMAN LONDON WC2B
                                      6AH UNITED KINGDOM
WONG PARTNERSHIP LLP                  ATTN: CLAYTON CHONG 12 MARINA BOULEVARD LEVEL 28 MARINA BAY FINANCIAL CENTRE
                                      TOWER 3 SINGAPORE 18982 SINGAPORE




                               Total Creditor count: 43




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